Case 2:19-bk-14989-WB     Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06      Desc
                           Main Document    Page 1 of 18


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 6
     Bankruptcy Counsel to Shahan Ohanessian and
 7   Shoushana Ohanessian
 8
                          UNITED STATES BANKRUPTCY COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10

11   In re                                    Lead Case No.: 2:19-bk-14989-WB
12                                            Jointly Administered With:
     SCOOBEEZ,
13   SCOOBEEZ GLOBAL INC.,                    Case No.: 2:19-bk-14991-WB
     SCOOBUR LLC,                             Case No.: 2:19-bk-14997-WB
14
                  Debtors.                    Chapter 11
15
                                              REPLY TO HILLAIR CAPITAL
16
     This pleading affects:                   MANAGEMENT LLC’S OPPOSITION
17   All Debtors                       x
                                       ☐
                                              AND DEBTORS’ LIMITED OBJECTION
                                              TO MOTION FOR ALLOWANCE AND
18                                            PAYMENT OF ADMINISTRATIVE
     SCOOBEEZ;
19                                            EXPENSE CLAIM
     SCOOBEEZ GLOBAL, INC.,;
20
     SCOOBUR LLC.
                                              Date: 1/23/2020
21                                            Time: 10:00 a.m.
22                                            Place: Courtroom 1375
                                                     255 E. Temple St., Los Angeles, CA
23

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                                                                                  REPLY
Case 2:19-bk-14989-WB     Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06        Desc
                           Main Document    Page 2 of 18
 1

 2          TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY

 3    JUDGE AND ALL INTERESTED PARTIES:

 4          COMES NOW, Shoushana Ohanessian and replies to the opposition of Hillair

 5    Capital Management LLC’s and the Debtor’s limited objection to the requested for

 6    allowance and payment of her administrative expense claim

 7
     Dated: January 15, 2020                    JEFFREY S. SHINBROT, APLC
 8

 9
                                                By:/s/Jeffrey S. Shinbrot
10                                              JEFFREY S. SHINBROT, ESQUIRE
11                                              Counsel for Shahan Ohanessian and
                                                Shoushana Ohanessian
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Case 2:19-bk-14989-WB      Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06             Desc
                            Main Document    Page 3 of 18
 1

 2                                                  I.

 3                NO TIMELY, NOR SUBSTANITVE, OPPOSITION FILED

 4                        TO ADMININSTRATIVE CLAIM REQUEST

 5          The Debtor’s Opposition to the Motion of Shoushana Ohanessian for monies paid

 6   by her for estate expenses was due on January 9, 2020, but it was filed on January 10,

 7
     2020. Pursuant to Local Bankruptcy Rule 9013-1(f)(1), the objection was due 14 days
     before the hearing and therefore was untimely. LBR 9013-1(f)(2) requires that evidence
 8
     be presented in support of the opposition. The Debtor neither timely objected to the
 9
     Motion, nor did it provide any evidence is support of its statement that “Ms. Ohanessian
10
     has not, to date, provided information necessary for the Debtors to determine how much
11
     the requested expenses are appropriately reimbursable.” This statement cannot be relied
12
     on and it is patently false. In fact, this is an outrageous statement to make in light of the
13
     hundreds of pages or receipts and details of the purpose for each expense that was
14
     provided to the Debtor in August, 2019. The information provided to the Debtor and its
15
     counsel included the actual receipts, dates (including Uber receipts which state clearly the
16
     location of the pick-up and drop-off points) and spreadsheets with details of the expenses
17
     and the purpose for the expenses.
18
            The Debtor and its counsel are aware that Ms. Ohanessian’s stay at the Trump
19
     International Hotel for in excess of 50 days and was specifically so that Ms. Ohanessian
20
     could manage the Debtor’s Chicago operations. If fact Foley & Larder attorneys also
21
     stayed at the same hotel. If the Debtor or its counsel did not approve the hotel stay they
22   were under an affirmative obligation to communicate this to Ms. Ohanessian instead of
23   visiting her at the hotel and permitting her to incur the expense on the estate’s behalf,
24   followed by a failure to reimburse her. It is outrageous that the Debtor would leave Ms.
25   Ohanessian to personally foot the Debtor’s post-Petition expenses.
26          On August 30, 2019, Ms. Ohanessian, shared copies of in excess of 200 actual
27   receipts for the amounts referenced in the Motion via Dropbox with Brian Weiss, Ashley
28   McDow and John Simon. The Dropbox program indicates that both Mr. Weiss and Ms.


                                                   2                                       REPLY
Case 2:19-bk-14989-WB             Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06       Desc
                                   Main Document    Page 4 of 18
 1

 2   McDow added the files to their Dropbox. 1 The Debtor also fails to inform the Court that

 3   it was provided with a detailed spreadsheet of the expenses that included the purpose for

 4   the transaction. The Debtor and its counsel have had almost five months to review the

 5   documents supporting the claim.

 6              Hillaire’s objection references the Debtor’s objections. However, the Debtor’s

 7
     objections were not timely filed and are not supported by any evidence whatsoever.
     Hillaire also raises concerns regarding administrative insolvency. If Hillaire is correct, a
 8
     Trustee should be immediately appointed to determine if conversion to chapter 7 is
 9
     appropriate. In no instance, however, should professionals be paid for professional time
10
     prior to Ms. Ohanessian being reimbursed for her out-of-pocket costs.
11
                                                               II.
12
                                                       THE TOLLS
13
                The Debtor’s statement that it was unaware of the toll fees is simply inexplicable
14
     and again militates towards the appointment of a Trustee. The Debtor makes no mention
15
     of why Ms. Ohanessian’s driver’s license and security number continue to be linked to the
16
     Debtor’s accounts after her termination by the Debtor 5 months ago. As far as the timing
17
     of the tolls, the Debtor is well aware (yet feigns ignorance) the “Billing Dates” refer to the
18
     date of the rental of the vehicle, not the date the toll was incurred.
19
                                                              III.
20
                                                PRAYER FOR RELIEF
21
                Shoushana Ohanessian respectfully requests that the Court order Debtors to pay her
22   ordinary course expenses paid on behalf of Debtors in the sum of $52,349.67 ($57,814.62
23   less the amount paid of $5,465.00); either pay Shoushana or the toll company directly for
24   the $24,074.98 in unpaid tolls; and remove Shoushana’s drivers’ license and social
25   security number from all accounts immediately.
26   ///
27   ///
28
     1
         See annexed declaration of Jeffrey S. Shinbrot and Drop box image.

                                                               3                           REPLY
Case 2:19-bk-14989-WB    Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06   Desc
                          Main Document    Page 5 of 18
 1

 2   Dated: January 15, 2020                 JEFFREY S. SHINBROT, APLC
 3

 4                                           By:/s/Jeffrey S. Shinbrot
 5
                                             JEFFREY S. SHINBROT, ESQUIRE
                                             Counsel for Shahan Ohanessian and
 6                                           Shoushana Ohanessian
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Case 2:19-bk-14989-WB   Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06   Desc
                         Main Document    Page 6 of 18
Case 2:19-bk-14989-WB   Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06   Desc
                         Main Document    Page 7 of 18




                                   EXHIBIT E
1/15/2020   Case 2:19-bk-14989-WB            Doc 547
                        Shinbrot Firm Mail - Scoobeez      Filed
                                                      Chapter      01/15/20
                                                              11 Cases, lead Case #Entered    01/15/20
                                                                                   2:19-bk-14989-WB       15:20:06
                                                                                                    ("Scoobeez"           Desc
                                                                                                                or the "Debtor"))
                                              Main Document               Page 8 of 18

                                                                                      Jeffrey Shinbrot <jeffrey@shinbrotfirm.com>



  Scoobeez Chapter 11 Cases, lead Case # 2:19-bk-14989-WB ("Scoobeez" or the
  "Debtor"))
  1 message

  Jeffrey Shinbrot <jeffrey@shinbrotfirm.com>                                                             Fri, Aug 30, 2019 at 7:55 AM
  To: jsimon@foley.com, amcdow@foley.com


    Dear Ashley and John,



    As you know, I am counsel (along with Aram Ordubegian) to Mrs. Shoushana (“Suzy”) Ohanessian in connection with the
    Scoobeez chapter 11 cases. My understanding is that on several occasions, Suzy has presented her out-of-pocket costs
    for reimbursement to the Chief Restructuring Officer of the Debtors, but to date she has received no reimbursement. The
    attached spreadsheet details Suzy’s administrative expense claims which arose after the Debtor’s Petition Date and
    which are related to costs that were necessary to preserve the estate. A drop-box link has been forwarded to you both
    with copies of the receipts.



    Since these expenses have been presented on several occasions to the CRO, demand is hereby made to reimburse
    Suzy immediately. This will be her final request prior to filing a motion for reimbursement with the Bankruptcy Court.



    All rights and remedies are hereby reserved.



    Best regards,



    Jeff Shinbrot




    IRS Circular 230 Disclosure
    To ensure compliance with requirements imposed by the IRS, we inform you that any U.S. tax advice contained
    in this communication (including any attachments) is not intended or written to be used, and cannot be used, for
https://mail.google.com/mail/u/0?ik=fbe242b316&view=pt&search=all&permthid=thread-a%3Ammiai-r8000923049468336650&simpl=msg-f%3A16433…   1/2
1/15/2020Case 2:19-bk-14989-WB                 Doc 547
                          Shinbrot Firm Mail - Scoobeez      Filed
                                                        Chapter      01/15/20
                                                                11 Cases, lead Case #Entered    01/15/20
                                                                                     2:19-bk-14989-WB       15:20:06
                                                                                                      ("Scoobeez"           Desc
                                                                                                                  or the "Debtor"))
                                                Main    Document            Page   9  of 18
    the purpose of (i) avoiding tax related penalties under the Internal Revenue Code, or (ii) promoting, marketing or
    recommending to another party any tax-related matters addressed herein.



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    the attorney client privilege. If you have received this message in error, please immediately notify the sender at THE
    SHINBROT FIRM and delete all copies of this email message along with all attachments.




            Copy of Suzys account activites and exepnses 8-13-19.xlsx
            21K




https://mail.google.com/mail/u/0?ik=fbe242b316&view=pt&search=all&permthid=thread-a%3Ammiai-r8000923049468336650&simpl=msg-f%3A16433…   2/2
  Chicago                                                                         Purpose

                       PURCHASE AUTHORIZED ON 07/22 USPS PO 16150400 1859 S A
7/22/2019     $73.77   CHICAGO IL P00309203600488121 CARD 3967                    Send devices to Dallas to get fixed
                       PURCHASE AUTHORIZED ON 07/20 USA*CANTEEN VENDIN
7/22/2019      $1.00   WHEELING IL S309201632275449 CARD 3967                     Refereshements for staff
                       PURCHASE AUTHORIZED ON 07/20 USA*CANTEEN CHICAG




                                                                                                                                                Case 2:19-bk-14989-WB
7/22/2019      $1.25   BLOOMINGDALE IL S589201631854326 CARD 3967                 Refereshements for staff
                       PURCHASE AUTHORIZED ON 07/20 USA*CANTEEN VENDIN
7/22/2019      $1.25   WHEELING IL S589201631618336 CARD 3967                     Refereshements for staff
                       PURCHASE AUTHORIZED ON 07/19 LOCKSMITH AND SECU
7/22/2019    $138.02   CHICAGO IL S309200654596074 CARD 3967                      Lock smith for vehicles in Chicago
                       PURCHASE AUTHORIZED ON 07/19 TRUMP HOTEL CHICAG
7/24/2019 $38,331.27   CHICAGO IL S469193769200024 CARD 3967                      Stay at hotel while managing all three Chicago operations
                       PURCHASE WITH CASH BACK $ 40.00 AUTHORIZED ON 07/18
                       TARGET T‐ 1940 W 33rd Chicago IL P00000000331528270 CARD
7/18/2019     $66.99   3967                                                       Station supplies for DCH1 and cash for water bottles for Das
                       ZELLE TO MENDOZA ROBERT ON 07/18 REF #RP06K9ML9P
7/18/2019    $287.30   IMPOUNDED VAN DALLAS                                       Payment for towing that Robert paid for Dallas vehicle
7/17/2019    $500.00   ZELLE TO MENDOZA ROBERT ON 07/17 REF #RP06K894FF           Payment for moving vehicles off site to 3am




                                                                                                                        Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06
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                       PURCHASE WITH CASH BACK $ 40.00 AUTHORIZED ON 07/17
                       TARGET T‐ 1940 W 33rd Chicago IL P00000000883720081 CARD
7/17/2019     $63.90   3967                                                       Station supplies for DCH1 and cash for water bottles for Das
                       PURCHASE WITH CASH BACK $ 40.00 AUTHORIZED ON 07/17
                       TARGET T‐ 1940 W 33rd Chicago IL P00000000871529035 CARD
7/17/2019    $328.19   3967                                                       Station supplies for DCH1 and cash for water bottles for Das
                       PURCHASE AUTHORIZED ON 07/16 TIO LUIS TACOS AND
7/17/2019     $15.37   CHICAGO IL S469197667030571 CARD 3967                      DCH1 team lunch




                                                                                                                                         Page 10 of 18
                       PURCHASE AUTHORIZED ON 07/16 TIO LUIS TACOS AND
7/17/2019     $80.63   CHICAGO IL S589197666625608 CARD 3967                      DCH1 team lunch
                       PURCHASE AUTHORIZED ON 07/16 USA*CANTEEN VENDIN
7/17/2019      $1.00   WHEELING IL S469197591794136 CARD 3967                     Refereshements for staff
                       PURCHASE AUTHORIZED ON 07/16 FOOT LOCKER 08705
7/16/2019    $141.15   CHICAGO IL P00469197739245580 CARD 3967                    Shoes damaged during the floor at DCH1
                       PURCHASE AUTHORIZED ON 07/15 USA*CANTEEN VENDIN
7/16/2019      $1.00   WHEELING IL S469196538177879 CARD 3967                     Refereshements for staff
                       PURCHASE AUTHORIZED ON 07/15 USA*CANTEEN VENDIN
7/16/2019      $1.25   WHEELING IL S389196537866172 CARD 3967                     Refereshements for staff




                                                                                                                                                D
                      PURCHASE AUTHORIZED ON 07/15 CMSVEND*CV CHICAGO
7/16/2019     $0.75   ELMHURST IL S469196537652376 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 CMSVEND*CV CHICAGO
7/16/2019     $0.75   ELMHURST IL S389196537045479 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 CMSVEND*CV CHICAGO
7/16/2019     $0.75   ELMHURST IL S389196536787121 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 CMSVEND*CV CHICAGO




                                                                                                                                          Case 2:19-bk-14989-WB
7/16/2019     $0.75   ELMHURST IL S309196536450362 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 USA*CANTEEN
7/16/2019     $2.25   BLOOMINGDALE IL S589196535473162 CARD 3967           Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 USA*CANTEEN
7/16/2019     $2.75   BLOOMINGDALE IL S589196535004908 CARD 3967           Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/15 USA*CANTEEN VENDIN
7/16/2019     $1.00   WHEELING IL S389196448584265 CARD 3967               Refereshements for staff
7/15/2019   $694.44   ZELLE TO HAWKINS DASIA ON 07/15 REF #RP06JYRMLY      Payment for vehicle
                      PURCHASE AUTHORIZED ON 07/12 FATTOUSH HOOKAH IN
7/15/2019     $5.49   WORTH IL S309194122310783 CARD 3967                  Meeting for Chicago staff
                      PURCHASE AUTHORIZED ON 07/12 FATTOUSH HOOKAH IN
7/15/2019   $193.55   WORTH IL S469194108682675 CARD 3967                  Meeting for Chicago staff
                      PURCHASE AUTHORIZED ON 07/12 TIO LUIS TACOS AND




                                                                                                                  Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06
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7/15/2019   $121.18   CHICAGO IL S389193661762904 CARD 3967                DCH1 team lunch
                      PURCHASE AUTHORIZED ON 07/12 PARKVIEW AUTOMOTIV
7/15/2019   $305.00   CHICAGO IL S589193596663040 CARD 3967                Repair for vans battery vans at DCH1
                      PURCHASE AUTHORIZED ON 07/11 TARGET T‐ 1940 W 33rd
7/11/2019    $35.47   Chicago IL P00000000483458234 CARD 3967              General supplies
                      PURCHASE AUTHORIZED ON 07/10 CMSVEND*CV CHICAGO
7/11/2019     $0.75   ELMHURST IL S389191747265530 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/10 CMSVEND*CV CHICAGO




                                                                                                                                   Page 11 of 18
7/11/2019     $0.75   ELMHURST IL S469191747032471 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/10 CMSVEND*CV CHICAGO
7/11/2019     $0.75   ELMHURST IL S309191746860595 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/10 CMSVEND*CV CHICAGO
7/11/2019     $0.75   ELMHURST IL S309191746634836 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/10 USA*CANTEEN VENDIN
7/11/2019     $1.25   WHEELING IL S469191745645798 CARD 3967               Refereshements for staff
                      PURCHASE AUTHORIZED ON 07/10 USA*CANTEEN VENDIN
7/11/2019     $1.25   WHEELING IL S589191566568048 CARD 3967               Refereshements for staff




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                           PURCHASE AUTHORIZED ON 07/10 USA*CANTEEN
7/11/2019     $1.00        BLOOMINGDALE IL S469191566008333 CARD 3967                 Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/09 GRUBHUBLACOCOSPIZZ
                           GRUBHUB.COM NY S309191029804684 CARD 3967 Amazon
7/11/2019   $123.92        station                                                    Team lunch at the station
7/10/2019   $200.00   1518 CHECK # 1518 ‐ Dasia Hokins pay                            Bonus for covering Michael and worked for 7 days in a row
                           ZELLE TO MENDOZA ROBERT ON 07/10 REF #RP06J5SH5S OFF




                                                                                                                                                  Case 2:19-bk-14989-WB
7/10/2019    $30.88        SITE PARKING MATERIAL DDA3                                 Office site parking for DDA3
                           PURCHASE WITH CASH BACK $ 40.00 AUTHORIZED ON 07/08
                           TARGET T‐ 1940 W 33rd Chicago IL P00000000486716848 CARD
 7/9/2019   $189.12        3967                                                       General supplies
                           PURCHASE AUTHORIZED ON 07/07 MCDONALD'S M4679 O
 7/9/2019     $8.92        CHICAGO IL S589188825000978 CARD 3967                      Staff meal
                           PURCHASE AUTHORIZED ON 07/07 MCDONALD'S M4679 O
 7/9/2019     $8.83        CHICAGO IL S389188824400774 CARD 3967                      Staff meal
                           PURCHASE AUTHORIZED ON 07/07 USA*CANTEEN VENDIN
 7/8/2019     $1.25        WHEELING IL S469188683246933 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 CMT CHICAGO IL2769
 7/8/2019    $12.75        CHICAGO IL S469187243529909 CARD 3967                      General supplies
                           PURCHASE AUTHORIZED ON 07/05 TAVERN ON RUSH CHICAGO




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 7/8/2019    $55.16        IL S389187229970369 CARD 3967                              Staff meal
                           PURCHASE AUTHORIZED ON 07/05 CMT CHICAGO IL2769
 7/8/2019     $9.50        CHICAGO IL S389187210382491 CARD 3967                      General supplies
                           PURCHASE AUTHORIZED ON 07/05 USA*CANTEEN CHICAG
 7/8/2019     $2.50        BLOOMINGDALE IL S469186711008246 CARD 3967                 Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 CMSVEND*CV CHICAGO
 7/8/2019     $0.75        ELMHURST IL S469186710621552 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 CMSVEND*CV CHICAGO




                                                                                                                                           Page 12 of 18
 7/8/2019     $0.75        ELMHURST IL S389186710392844 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 CMSVEND*CV CHICAGO
 7/8/2019     $0.75        ELMHURST IL S389186710124578 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 CMSVEND*CV CHICAGO
 7/8/2019     $0.75        ELMHURST IL S469186709542986 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 USA*CANTEEN VENDIN
 7/8/2019     $1.00        WHEELING IL S389186647376186 CARD 3967                     Refereshements for staff
                           PURCHASE AUTHORIZED ON 07/05 TARGET T‐ 1940 W 33rd
 7/5/2019    $11.88        Chicago IL P00000000837308290 CARD 3967                    General supplies




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                     PURCHASE AUTHORIZED ON 07/01 USA*CANTEEN
 7/2/2019    $1.00   BLOOMINGDALE IL S589182777735759 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 07/01 USA*CANTEEN VENDIN
 7/2/2019    $1.25   WHEELING IL S309182777129299 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 07/01 USA*CANTEEN CHICAG
 7/2/2019    $1.25   BLOOMINGDALE IL S469182705283855 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 07/01 USA*CANTEEN CHICAG




                                                                                                                               Case 2:19-bk-14989-WB
 7/2/2019    $1.25   BLOOMINGDALE IL S589182704774028 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 07/01 USA*CANTEEN CHICAG
 7/2/2019    $2.00   BLOOMINGDALE IL S469182704254427 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 07/01 UBER TRIP HELP.UBER.COM
 7/2/2019   $14.62   CA S389182460597744 CARD 3465                          Uber ride for station
                     ZELLE TO MENDOZA ROBERT ON 07/01 REF #RP06GYQ8LX
 7/1/2019   $24.00   HOME DEPOT PURCHASE REIMBURSEME                        Home depot DDA3 supplies
                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.25   WHEELING IL S389179837036917 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.25   WHEELING IL S389179836772909 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.00   WHEELING IL S589179723231964 CARD 3465                 Refereshements for staff




                                                                                                       Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06
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                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.00   WHEELING IL S469179722996270 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.00   WHEELING IL S309179624585048 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/28 USA*CANTEEN VENDIN
 7/1/2019    $1.00   WHEELING IL S589179624329949 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/25 USA*CANTEEN VENDIN
6/26/2019    $1.25   WHEELING IL S469176494801541 CARD 3465                 Refereshements for staff




                                                                                                                        Page 13 of 18
                     PURCHASE AUTHORIZED ON 06/24 USA*CANTEEN VENDIN
6/25/2019    $1.25   WHEELING IL S309175487038599 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/22 USA*CANTEEN VENDIN
6/24/2019    $1.25   WHEELING IL S469173654841087 CARD 3465                 Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/22 USA*CANTEEN
6/24/2019    $0.75   BLOOMINGDALE IL S389173654437640 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/22 USA*CANTEEN
6/24/2019    $2.25   BLOOMINGDALE IL S469173653272507 CARD 3465             Refereshements for staff
                     PURCHASE AUTHORIZED ON 06/21 AMAZON.COM*M69CR52
6/24/2019   $45.44   AMZN.COM/BILL WA S469172755357447 CARD 3465            General supplies




                                                                                                                               D
                      PURCHASE AUTHORIZED ON 06/21 AMAZON.COM*M68AK02
6/24/2019   $151.69   AMZN.COM/BILL WA S589172699112954 CARD 3465            General supplies
6/12/2019   $250.00   ZELLE TO MENDOZA ROBERT ON 06/15 REF #RP06DQFB39       Advance for his pay
                      TRANSFER TO MUNOZ ANDRES ON 06/11 REF #PP06D3SZTL
6/12/2019   $800.00   HOTEL REIMBURSEMENT CHICAGO                            Hotel for Andres to stay in Chicago
                      PURCHASE AUTHORIZED ON 06/08 USA*CANTEEN VENDIN
6/10/2019     $1.25   WHEELING IL S309160146812889 CARD 6361                 Refereshements for staff




                                                                                                                                           Case 2:19-bk-14989-WB
                      PURCHASE AUTHORIZED ON 06/02 AMERICAN AIR001064 FORT
 6/5/2019   $103.98   WORTH TX S589154216266240 CARD 6361                    Flight
                      PURCHASE AUTHORIZED ON 06/02 AMERICAN AIR001064 FORT
 6/4/2019    $16.76   WORTH TX S309153680342141 CARD 6361                    Flight
                      PURCHASE AUTHORIZED ON 06/02 AMERICAN AIR001064 FORT
 6/4/2019    $16.76   WORTH TX S309153680342141 CARD 6361                    Flight
                      PURCHASE AUTHORIZED ON 06/02 AMERICAN AIR001235 FORT
 6/4/2019   $376.30   WORTH TX S469153678266520 CARD 6361                    Flight
                      PURCHASE AUTHORIZED ON 06/02 AMZN MKTP US*M65LT
 6/3/2019   $131.33   AMZN.COM/BILL WA S589153705207042 CARD 6361            General supplies
                      PURCHASE AUTHORIZED ON 06/01 AA INFLIGHT VISA F
 6/3/2019    $27.97   PHOENIX AZ S469152771798187 CARD 6361                  Flight seat
                      PURCHASE AUTHORIZED ON 06/01 AMZN Mktp US*M6002




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 6/3/2019    $49.99   Amzn.com/bill WA S309152756538107 CARD 6361            General supplies
                      ZELLE TO CHOMENTOWSKA JOWITA ON 06/01 REF
 6/3/2019   $500.00   #RP06BN2VDJ                                            Bonus for working late and over time on several days
                      PURCHASE AUTHORIZED ON 06/01 AMZN Mktp US*MN13E
 6/3/2019   $329.05   Amzn.com/bill WA S469152613966061 CARD 6361            General supplies
                      PURCHASE AUTHORIZED ON 06/01 UBER TRIP HELP.UBER.COM
 6/3/2019    $42.75   CA S589152604488484 CARD 6361                          Uber ride for station
                      PURCHASE AUTHORIZED ON 05/31 UBER TRIP HELP.UBER.COM




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 6/3/2019   $139.43   CA S469152186790670 CARD 6361                          Uber ride for station
                      PURCHASE AUTHORIZED ON 05/31 Amazon.com*MN6862Y
 6/3/2019    $37.06   Amzn.com/bill WA S309151636073224 CARD 6361            General supplies
                      PURCHASE AUTHORIZED ON 05/31 Amazon.com*M62K81N
 6/3/2019   $137.91   Amzn.com/bill WA S389151536499689 CARD 6361            General supplies
                      PURCHASE AUTHORIZED ON 05/31 AMERICAN AIR001064 FORT
 6/3/2019    $42.02   WORTH TX S469151527974332 CARD 6361                    Flight
                      PURCHASE AUTHORIZED ON 05/31 AMERICAN AIR001064 FORT
 6/3/2019    $35.02   WORTH TX S469151527974332 CARD 6361                    Flight




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                           PURCHASE AUTHORIZED ON 05/31 AMZN Mktp US*MN6EO
 6/3/2019   $245.87        Amzn.com/bill WA S389151527289821 CARD 6361              General supplies
                           PURCHASE AUTHORIZED ON 05/31 AMERICAN AIR001064 FORT
 6/3/2019    $75.00        WORTH TX S469151518259206 CARD 6361                      Flight
                           PURCHASE AUTHORIZED ON 05/31 AMERICAN AIR001064 FORT
 6/3/2019    $75.00        WORTH TX S469151518259206 CARD 6361                      Flight
                           PURCHASE AUTHORIZED ON 05/31 AMZN Mktp US*MN5AG




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 6/3/2019   $195.87   1515 Amzn.com/bill WA S389151508069537 CARD 6361              General supplies
                           PURCHASE AUTHORIZED ON 05/30 POSTMATES ECF7F MI
 6/3/2019    $90.77        8778877815 CA S589151129640467 CARD 6361                 Food for station staff
                           PURCHASE RETURN AUTHORIZED ON 06/01 AMERICAN
5/31/2019    $30.45        AIR001064 FORT WORTH TX S619154547928197 CARD 6361       Flight
 7/3/2019    $21.13        USPS Devises sent to Dallas for repair                   Divises sent to Dallas for repairs
 7/3/2019    $55.33        Falcos Pizza for SameDay Drivers                         Food for station staff
7/23/2019   $136.20        Dunkin Donuts DCH1                                       Food for station staff
7/13/2019    $25.00        Yellow Taxi                                              Ride to and from Station
7/19/2019    $28.80        Yellow Taxi                                              Ride to and from Station
7/20/2019    $27.00        Yellow Taxi                                              Ride to and from Station
7/22/2019    $24.30        Yellow Taxi                                              Ride to and from Station
7/23/2019    $30.60        Yellow Taxi                                              Ride to and from Station




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                                                                                                                         Main Document
7/23/2019   $461.30        Terry Lenoir Payroll 7/1 ‐ 7/15‐ 2019                    Pay to Terry salary because accounting error and George sent to me to pay this
5/28/2019   $649.50        Cullum LBS Investments ‐ Dallas Rabbit devices           Repair of devices
6/29/2019    $68.88        DCH1 Cupcakes                                            Food for station staff
7/12/2019   $101.18        Lunch for Amazon                                         Food for station staff
 7/7/2019    $72.00         U‐Stor‐It, Lisle. DCH3                                  Storage for DCH3
7/11/2019   $336.35        ABC Wire Chicago IL Phone chargers for DCH1              Phone chargers
                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 1/8/2019   $140.50        account                                                  Extra storage for Chicago




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                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 2/8/2019   $140.50        account                                                  Extra storage for Chicago
                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 3/8/2019   $140.50        account                                                  Extra storage for Chicago
                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 4/8/2019   $159.50        account                                                  Extra storage for Chicago
                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 5/8/2019   $159.50        account                                                  Extra storage for Chicago
                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 6/8/2019   $159.50        account                                                  Extra storage for Chicago




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                           Extra Space Storage for DCH1 ‐ Auto pay on my personal
 7/9/2019        $159.50   account                                                            Extra storage for Chicago
3/25/2019        ‐$72.00   U‐Stor‐It, Lisle. DCH3                                             Extra storage for Chicago
4/26/2019        ‐$72.00   U‐Stor‐It, Lisle. DCH3                                             Extra storage for Chicago
5/22/2019        ‐$72.00   U‐Stor‐It, Lisle. DCH3                                             Extra storage for Chicago
7/22/2019        ‐$72.00   U‐Stor‐It, Lisle. DCH3                                             Extra storage for Chicago
7/24/2019       ‐$577.98   Southwest Flight                                                   Flight




                                                                                                                                                             Case 2:19-bk-14989-WB
6/27/2019        $251.85   Steak 48 ‐ Dinner for Chicago Scoobeez team                        Meal for Chicago team
 See Sheet
      Uber
   Chicago     $1,760.82   Several Uber rides in Chicago                                      Several Uber rides, see breakdown on the tab and receipts
7/25/2019       $500.00    Lincoln rowing reimbursement for DCH1 vehicle - Towing services    Vichles towing fees


     Dallas
8/4/2019        $546.98    Southwest Airline                                                  Flight
8/7/2019        $584.30    American Airline                                                   Flight
8/7/2019       $1,651.45   Hyatt Hotel Dallas                                                 Hotel stay in Dallas
8/6/2019        $163.80    Amazon Prime Now                                                   General items for station and office
 8/6/2019       $405.00    Onsite Detail Farmers Branch                                       Feet wash and detail DDA1




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                                                                                                                                     Main Document
 8/7/2019       $720.00    Onsite Detail Garland                                              Feet wash and detail DDA2
8/8/2019        $600.00    Onsite Detail Fort Worth                                           Feet wash and detail DDA3
8/7/2019        $130.25    Cardona's Dallas Team                                              Meal for office and field staff
8/7/2019          $46.00   Race Track gas station                                             Fuel for vehicles for DDA2
8/8/2019        $119.45    In&Out Burgers SCBZ/Amazon Team Garland                            Lunch for station
                           Uber Charges 8/4 to 8/8 ‐ Invoives attached ‐ See Uber Dallas
 8/8/2019       $621.30    Sheet                                                              Several Uber rides, see breakdown on the tab and receipts
                           A Auto Unlock to unlock van in Dallas due to key issues with the




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 8/3/2019       $162.37    van                                                                Locksmith to fix key issues


              $58,295.59




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        Case 2:19-bk-14989-WB                     Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06                                       Desc
                                                  Main Document    Page 17 of 18



                                              PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:
                                         15260 Ventura Blvd., Suite 1200
                                            Sherman Oaks, CA 91403

A true and correct copy of the foregoing document entitled (specify): REPLY TO HILLAIR
CAPITAL MANAGEMENT LLC’S OPPOSITION AND DEBTORS’ LIMITED OBJECTION
TO MOTION FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE
CLAIM: will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below.

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink
to the document. On (date) 1/15/2020, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

    •   John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
    •   Riebert Sterling Henderson shenderson@gibbsgiden.com
    •   Vivian Ho BKClaimConfirmation@ftb.ca.gov
    •   Alvin Mar alvin.mar@usdoj.gov
    •   Ashley M McDow amcdow@foley.com,
        sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
    •   Stacey A Miller smiller@tharpe-howell.com
    •   Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
    •   Shane J Moses smoses@foley.com
    •   Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
    •   Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    •   Anthony J Napolitano anapolitano@buchalter.com,
        IFS_filing@buchalter.com;salarcon@buchalter.com
    •   David L. Neale dln@lnbyb.com
    •   Aram Ordubegian ordubegian.aram@arentfox.com
    •   Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
    •   Gregory M Salvato gsalvato@salvatolawoffices.com,
        calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
    •   Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
    •   Steven M Spector sspector@buchalter.com,
        IFS_efiling@buchalter.com;salarcon@buchalter.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Eric K Yaeckel yaeckel@sullivanlawgroupapc.com
    •
X 2. SERVED BY UNITED STATES MAIL: On (date) 1/15/2020, I served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
       Case 2:19-bk-14989-WB                      Doc 547 Filed 01/15/20 Entered 01/15/20 15:20:06                                       Desc
                                                  Main Document    Page 18 of 18



follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than
24 hours after the document is filed.
                 NEF
Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067

X 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
on (date) 1/15/2020, I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/15/2020                       Jeffrey Shinbrot                                               /s/Jeffrey Shinbrot
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
